 Case 1:97-cr-00382-HCM Document 204 Filed 02/24/16 Page 1 of 4 PageID# 218
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                           IN THE UNITED STATES DISTRICT COURT                                         FEB 2 4 2016
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                            Alexandria Division                                CLERK, U.S. DIS1HIC1 COURT
                                                                                                        NOhFO! K. VA
JOHNNY LEE WESLEY,

                           Petitioner,

        v.                                                                       Crim. Action No. I:97cr382


UNITED STATES OF AMERICA,

                           Respondent.

                                                     ORDER


        This matter comes before the Court on pro se Petitioner Johnny Lee Wesley's

("Petitioner") Motion to Reduce Sentence C'Motion"), Doc. 202. In the Motion, Petitioner asks

for a new trial or a reduced sentence based on Montgomery v. Louisiana. 577 U.S.                            (2016).

In Montgomery, the Supreme Court of the United States held that prohibition on mandatory life

without parole for juvenile offenders represented a new substantive rule announced in Miller v.

Alabama, 132 S. Ct. 2455 (2012), and that, therefore, the prohibition is retroactive. Id For the

reasons stated herein, the Motion is DENIED.

                          I.     FACTUAL AND PROCEDURAL HISTORY1

        On January 27, 1998. a jury found Petitioner guilty on three counts: (1) conspiracy to
distribute and possess with intent to distribute fifty (50) grams or more of crack cocaine, in

violation of 21 U.S.C. § 846; (2) murder in furtherance of drug trafficking, in violation of 21

U.S.C. § 848(e)(1)(A); and (3) interstate transportation in aid of racketeering, in violation of 18
U.S.C. § 1952. Docs. 38, 47. The Court subsequently sentenced Petitioner to three concurrent

life sentences of imprisonment and a term of five (5) years supervised release. Doc. 47. The

murder of which petitioner was convicted occurred on January 9, 1997. See, e.g.. Doc. 195 at 4.
 Due to the length ofthe procedural history, the Court includes here only what is relevant to the pending Motion.
 Case 1:97-cr-00382-HCM Document 204 Filed 02/24/16 Page 2 of 4 PageID# 219



The Court of Appeals for the Fourth Circuit affirmed Petitioner's convictions and sentence on

July 19, 1999 and entered its judgment on August 11, 1999. Docs. 57-59; United States v.

Wesley. 187 F.3d 633, 1999 WL 507243 (4th Cir. July 19, 1999) (unpublished). Petitioner did

not petition the Supreme Court for a writ of certiorari on direct review. Since his conviction,

Petitioner has filed numerous motions seeking relief from his conviction and sentence, including

numerous motions under 28 U.S.C. 2255. See, e.g.. Docs. 60, 96, 101, 109, 118, 135, 147, and

169. Petitioner filed the instant Motion on January 29, 2016, seeking relief under Miller v.

Alabama, 132 S.Ct. 2455, and Montgomery v. Louisiana, 577 U.S.            (2016).

                                        II.   ANALYSIS


       The prohibition against mandatory life imprisonment for juvenile offenders affords

Petitioner no relief. In Miller v. Alabama, the Supreme Court held that "the Eighth Amendment

forbids a sentencing scheme that mandates life in prison without possibility of parole for juvenile

offenders." 132 S.Ct. at 2469. The Supreme Court recently held on January 25, 2016 that this

prohibition applies retroactively. See Montgomery v. Louisiana, 577 U.S.             (2016). The

word "juvenile" refers to someone under the age of eighteen (18). In Miller, the Court wrote that

"mandatory life without parole for those under the age of 18 at the time of their crimes violates

the Eighth Amendment's prohibition on 'cruel and unusual punishments."' 132 S. Ct. at 2460.

Additionally, in Roper v. Simmons, the Supreme Court noted that "drawing the line at 18 years

of age is subject, of course, to the objections always raised against categorical rules," but the

Court nonetheless drew a bright line at age eighteen in that case. 543 U.S. 551, 574 (2005).

When faced with defendants who committed crimes between ages eighteen (18) and twenty two

(22), the United States District Court for the Southern District of New York refused to extend

Millerto defendants over eighteen, despite the defendants' argument that "like juveniles, persons
 Case 1:97-cr-00382-HCM Document 204 Filed 02/24/16 Page 3 of 4 PageID# 220



between ages 18 and 22 are 'well within a period of time of great change in the parts of the brain

associated with risk assessment, impulse control, and emotional regulation.'" United States v.

Lopez-Cabrera. No. s5 llcr.1032, 2015 WL 3880502, at *l-3 (S.D.N.Y June 23, 2015). The

Fourth Circuit has also refused to extend Miller to defendants eighteen years old or older. See

United States v. Dock. 541 Fed. Appx. 242, 245 (2013) (noting that because the defendant was

twenty years old at the time of his sentencing, Miller "is of no help" to him).

        Although Petitioner argues that he was a teenager at the time of his offense and that

"studies and data has come out proving young male's brains don't fully develop until they are in

their 20's and those who committed crimes as a youth are likely to not commit those crimes

again," Doc. 202, he does not qualify for relief under Miller, just as the defendants in Lopez-

Cabrera did not qualify for relief. Petitioner was born on May 2, 1977, and he was convicted of

committing a murder that occurred on January 9, 1997. See, e.g.. Wesley. 1999 WL 507243, at

*2-3.   Therefore, Petitioner was nineteen (19) years old at the time of the murder.       Thus,

Petitioner was not a juvenile at the time of his offense, and the Court must DENY the Motion.

                                     III.    CONCLUSION


        For the aforementioned reasons, the Court DENIES Petitioner's Motion, Doc. 202.

Petitioner is ADVISED that he may appeal this order by forwarding a written notice of appeal to

the Clerk of the United States District Court, United States Courthouse, 600 Granby Street,

Norfolk, Virginia 23510. Said written notice of appeal must be received by the Clerk within

sixty (60) days from the date of this Order. To proceed in forma pauperis on appeal, Petitioner

must submit an application to proceed in forma pauperis to the Clerk, United States Court of

Appeals for the Fourth Circuit, 1100 E. Main Street, Richmond, Virginia 23219.
 Case 1:97-cr-00382-HCM Document 204 Filed 02/24/16 Page 4 of 4 PageID# 221



       The Clerk is REQUESTED to send a copy of this order to Petitioner and to all counsel

of record, and to the United States Attorney.

       It is so ORDERED.
                                                    Henry Coke Morgan, Jr.
                                                    Senior United Slates District Judge _
                                                     HENRY COKE MORGAN, JR.>rWf-
                                                SENIOR UNITED STATES DISTRICT JUDGE


Norfolk, Virginia
February ~ZZ , 2016
